  08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                     Pg 1 of 66


                                    EXHIBIT D

          SNR DENTON US LLP’S MONTHLY FEE STATEMENTS FOR THE
     SECOND INTERIM PERIOD OF OCTOBER 1, 2010 THROUGH JANUARY 31, 2011




                                      -2-
10444226\V-6
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 2 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 3 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 4 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 5 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 6 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 7 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 8 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 9 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 10 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 11 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 12 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 13 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 14 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 15 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 16 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 17 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 18 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 19 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 20 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 21 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 22 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 23 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 24 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 25 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 26 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 27 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 28 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 29 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 30 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 31 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 32 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 33 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 34 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 35 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 36 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 37 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 38 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 39 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 40 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 41 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 42 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 43 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 44 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 45 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 46 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 47 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 48 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 49 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 50 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 51 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 52 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 53 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 54 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 55 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 56 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 57 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 58 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 59 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 60 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 61 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 62 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 63 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 64 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 65 of 66
08-13555-mg   Doc 29194-7   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D4
                                   Pg 66 of 66
